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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

___________________________________________
                                            )
SECURITIES AND EXCHANGE COMMISSION,         )
                                            )
                  Plaintiff,                )
                                            )
      v.                                    )                Case No.
                                            )
RICHARD DUNCAN,                             )                JURY TRIAL DEMANDED
                                            )
                  Defendant.                )
___________________________________________ )


                                         COMPLAINT

       Plaintiff Securities and Exchange Commission (“the Commission”) alleges the following

against defendant Richard Duncan and demands a jury trial.


                                PRELIMINARY STATEMENT

       1.      This enforcement action involves a fraud by Richard Duncan, an investment

adviser who lives in East Longmeadow, Massachusetts. From late 2016 until the fall of 2018,

Duncan solicited investments in a purported investment opportunity in Turkey that was actually

a scam. The so-called opportunity consisted of sending funds to Turkey based on an elaborate

hoax. Duncan told his clients and various third parties that a woman living in Turkey expected

to inherit as much as $6 million from her deceased father, and that he would be able to manage

the $6 million if he provided the woman with money for legal expenses. On some occasions, he

referred to the woman as his girlfriend or fiancée. Duncan steered at least two elderly retail

investors to “invest” in this illusory jackpot, promising them a return of as much as 100% if they

helped to secure the release of the funds. One of his longtime clients provided approximately

$250,000; another client put in $28,100. The money was sent to several people in Turkey and
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the United States who were supposedly helping the woman in Turkey. Duncan’s clients have not

received any of the promised returns on their investment. Instead, their money has been lost to

this international scam.

       2.      As an investment adviser, Duncan owed his advisory clients an affirmative duty

of the utmost good faith, and he was required to make full and fair disclosure of all material facts

and to employ reasonable care to avoid misleading his clients. Leaving aside the facial

implausibility of the story, Duncan failed to obtain any documentation establishing the identity

of the woman in Turkey and confirming the existence of legal proceedings involving the estate

of the woman’s father. He failed to obtain any documentation memorializing any financial

interest that his clients received in the purported estate. He also ignored – and failed to inform

his clients about – several bright red flags, including warnings from two banks that the Turkish

investment opportunity was probably a scam.

       3.      Through the activities alleged in this Complaint, Duncan has engaged in

fraudulent or deceptive conduct with respect to investment advisory clients, in violation of

Sections 206(1) and 206(2) of the Investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C.

§§80b-6(1), (2)].

       4.      The Commission seeks: (a) a permanent injunction prohibiting Duncan from

further violations of the relevant provisions of the federal securities laws; (b) disgorgement of

Duncan’s ill-gotten gains, plus prejudgment interest; and (c) a civil penalty due to the egregious

nature of Duncan’s violations.

                                 JURISDICTION AND VENUE

       5.      The Commission brings this action pursuant to the enforcement authority

conferred upon it by Section 209(d) of the Advisers Act [15 U.S.C. §80b-9(d)].


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       6.        This Court has jurisdiction over this action pursuant to Sections 209(d), 209(e)

and 214 of the Advisers Act [15 U.S.C. §§80b-9(d), 80b-9(e), 80b-14].

       7.        Venue is proper in this District because, at all relevant times, Duncan lived here

and the conduct in question occurred here.

       8.        In connection with the conduct alleged in this Complaint, Duncan directly or

indirectly made use of the means or instruments of transportation or communication in interstate

commerce, the facilities of a national securities exchange, or the mails.

       9.        Duncan’s conduct involved fraud, deceit, or deliberate or reckless disregard of

regulatory requirements, and resulted in substantial loss, or significant risk of substantial loss, to

other persons.

                                           DEFENDANT

       10.       Richard Duncan, age 71, lives in East Longmeadow, Massachusetts. Since at

least 1989, he has been an investment advisory representative associated with various investment

advisory firms. Prior to April 2017, he was associated with an investment advisory firm in East

Longmeadow. Between April 2017 and April 2019, he was associated with an investment

advisory firm based in Iowa. On April 4, 2019, the Iowa firm terminated its relationship with

Duncan after being informed that he had solicited investments from clients for the purported

Turkish investment scheme.


                                   FACTUAL ALLEGATIONS

       11.       In 2016, an acquaintance told Duncan about an American woman purportedly

living in Turkey who supposedly needed money to pay attorneys in that country who supposedly

were working to secure the release of what was claimed to be the $6 million estate of the

woman’s father. Duncan failed to obtain any documentation establishing the identity of the

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woman in Turkey or confirming the existence of any legal proceedings involving the estate of

the woman’s father. Nevertheless, Duncan decided to send money to people who were

supposedly helping her.

       12.     In September 2016, Duncan went to a bank where he had a personal account

(hereafter, “Bank #1”). He stated that he wanted to wire $10,000 to an attorney in Turkey who

was helping him to obtain the release of approximately $600,000 from the estate of his fiancée’s

father. When bank personnel warned Duncan that the transaction appeared to be a common

scam, he responded that he knew what he was doing and had a great deal of financial experience.

However, Duncan did not have the correct wiring instructions for the attorney in Turkey, so the

bank was unable to wire the funds. Despite the warning from Bank #1, Duncan proceeded to

withdraw $10,000 in cash, so that he could purchase four money orders to send to the attorney.

       13.     In late 2016, Duncan approached a long-time friend and retail client (hereafter,

“Client #1”), who is 70 years old. Duncan stated that if Client #1 provided money to assist a

woman in Turkey in getting control of her father’s estate, Client #1 would receive a 100% return

on his investment. Even though Duncan had told Bank #1 that the woman in Turkey was his

fiancée, he did not disclose that conflict of interest to Client #1. Nor did he disclose to Client #1

that a bank had warned him that the transaction was probably a scam. In addition, Duncan failed

to obtain any documentation that would memorialize any financial interest that Client #1 would

receive in the purported estate.

       14.     In January 2017, Client #1 provided Duncan with $16,000 in cash to be used for

the purported Turkish investment. Duncan deposited the money in one of his personal accounts

at a second bank (hereafter, “Bank #2”). When Duncan tried to wire money to a person in

Turkey, bank personnel questioned him about the suspicious nature of the transaction. Duncan



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stated that he was expecting an incoming wire of 6 million at some point in the next two weeks.

Despite the warning from Bank #2, Duncan proceeded to wire $15,800 to the person in Turkey.

        15.     Between January and March 2017, Duncan wired a total of approximately

$86,600 from his account at Bank #2 to a person in Turkey. When he made the final wire

transfer, Duncan told Bank #2 employees that it was the last wire he would need to send in order

to settle a $6 million estate.

        16.     In late March 2017, Duncan went to Bank #1 and asked to wire money from his

personal account to a person in Turkey. Bank #1 personnel told Duncan that, because the

information about the payee was similar to the information he had provided in September 2016,

it was possible that the transaction was fraudulent. Despite this second warning from Bank #1,

Duncan proceeded to wire $14,400 to the person in Turkey. Two weeks later, Duncan wired an

additional $6,500 to the same person in Turkey.

        17.     Between January and April 2017, Duncan thus wired a total of approximately

$107,500 to persons in Turkey. During the same period, Client #1 provided Duncan with a total

of at least $100,000 to be used for the supposed Turkish investment.

        18.     Even though he had been warned by two banks that the purported Turkish

investment was probably a scam, Duncan continued to solicit money from Client #1. He gave

Client #1 various excuses for the delay in the release of the funds and the subsequent payout to

Client #1. On one occasion, Duncan even claimed that $6 million in cash from the estate of the

woman’s father was on its way to the United States by boat, and that the boat had unexpectedly

been diverted to Hamburg, Germany.

        19.     Between April 2017 and January 2018, Client #1 wired a total of $132,840

directly to two people in Turkey whom Duncan had identified.



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       20.     Between October and December 2017, Duncan used MoneyGram to send a total

of $8,250 to three people in Turkey. It appears that Client #1 provided Duncan with most, if not

all, of the money that Duncan sent through MoneyGram.

       21.     In February 2018, Duncan wired $4,250 to a business associated with a person

living in Texas who was supposedly helping the woman in Turkey.

       22.     Between April and October 2018, Duncan used cashier’s checks to send a total of

$36,950 to the person in Texas who was supposedly helping the woman in Turkey.

       23.     In June 2018, Client #1 sent $3,000 to the same person in Texas.

       24.     In short, during the period between September 2016 and October 2018, Duncan

sent at least $167,025 to several people who were supposedly helping the woman in Turkey.

Apart from the initial transfer of $10,000 of his own money in September 2016, most of the

money that Duncan sent was supplied by Client #1. Client #1 also sent a total of at least

$135,840 directly to people in Turkey and the United States whom Duncan had identified. At no

point did Duncan disclose to Client #1 that he had told a bank that the woman was his fiancée or

that two banks had warned him that the Turkish investment was probably a scam. Duncan failed

to obtain any documentation memorializing the financial interest that Client #1 supposedly

received by reason of his investments.

       25.     In addition, between May and October 2018, a total of $28,100 was paid from an

account belonging to another of Duncan’s long-time advisory clients (hereafter, “Client #2”) to

the person in Texas who was supposedly helping the woman in Turkey. Duncan serves as a

trustee for Client #2, who is 72 years old.

       26.     In April 2019, personnel from the Commission’s Office of Compliance

Inspections and Examinations (“OCIE”) conducted an examination of Duncan’s office located in



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his home in East Longmeadow, Massachusetts. Duncan told the OCIE staff that he anticipated

that an attorney in Turkey would hire him to manage the funds in the estate of his girlfriend’s

father. Duncan also told the OCIE staff that he had personally contributed $10,000 to help his

girlfriend secure the release of her father’s estate.

                                  FIRST CLAIM FOR RELIEF
                   (Violation of Sections 206(1) and 206(2) of the Advisers Act)

         27.     The Commission repeats and incorporates by reference the allegations in

paragraphs 1-26 above.

         28.     At all relevant times, Duncan was an “investment adviser” within the meaning of

Section 202(a)(11) of the Advisers Act [15 U.S.C. §80b-2(a)(11)].

         29.     Sections 206(1) and 206(2) of the Advisers Act [15 U.S.C. §§80b-6(1), 80b-6(2)]

provide that it is unlawful for an investment adviser, by use of the mails or any means or

instrumentality of interstate commerce, directly or indirectly: (1) to employ any device, scheme,

or artifice to defraud a client or prospective client; or (2) to engage in any transaction, practice,

or course of business which operates as a fraud or deceit upon a client or prospective client.

         30.     As a result of the misconduct alleged above, Duncan has violated and, unless

enjoined, will continue to violate Sections 206(1) and 206(2) of the Advisers Act.

                                      PRAYER FOR RELIEF

         WHEREFORE, the Commission requests that this Court:

         A.      Enter a permanent injunction restraining Duncan, as well as his agents, servants,

employees, attorneys, and other persons in active concert or participation with them, from

directly or indirectly engaging in the conduct described above, or in conduct of similar purport

and effect, in violation of Sections 206(1) and 206(2) of the Advisers Act [15 U.S.C. §§80b-

6(1)];
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       B.      Require Duncan to disgorge his ill-gotten gains, plus prejudgment interest, with

said monies to be distributed in accordance with a plan of distribution to be ordered by the Court;

       C.      Order Duncan to pay an appropriate civil penalty pursuant to Section 209(e) of

the Advisers Act [15 U.S.C. §80b-9(e)];

       D.      Retain jurisdiction over this action to implement and carry out the terms of all

orders and decrees that may be entered; and

       E.      Award such other and further relief as the Court deems just and proper.

                                          Respectfully submitted,

                                          /s/ Frank C. Huntington______________________
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Dated: August 12, 2019




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